           Case 1:15-vv-00313-UNJ Document 35 Filed 05/27/16 Page 1 of 5




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-313V
                                      Filed: April 19, 2016
                                         UNPUBLISHED

****************************
KAREN RYF,                             *
                                       *
                   Petitioner,         *     Damages Decision Based on Proffer;
                                       *     Influenza Vaccine (“Flu Vaccine”);
                                       *     Shoulder Injury Related to Vaccine
SECRETARY OF HEALTH                    *     Administration (“SIRVA”);
AND HUMAN SERVICES,                    *     Special Processing Unit (“SPU”)
                                       *
                   Respondent.         *
                                       *
****************************
Diana Sedar, Maglio, Christopher and Toale, PA (FL), Sarasota, FL, for petitioner.
Sarah Duncan, U.S. Department of Justice, Washington, DC for respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On March 26, 2015, Karen Ryf filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act” or “Program”). Petitioner alleged that she suffered injuries causally
related to the influenza vaccine she received in her left deltoid on October 29, 2013.
Petition, ¶¶ 1, 13. The case was assigned to the Special Processing Unit of the Office
of Special Masters.

       On June 5, 2015, a ruling on entitlement was issued, finding petitioner entitled to
compensation. On April 19, 2016, respondent filed a proffer on award of compensation
(“Proffer”) indicating petitioner should be awarded $15,479.90 for past and future lost
earnings, $125,000.00 for projected and actual pain and suffering, and $1,144.50 for
past unreimbursable expenses for a total award of $141,624.40. Proffer at 1-2. In the

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
           Case 1:15-vv-00313-UNJ Document 35 Filed 05/27/16 Page 2 of 5



Proffer, respondent represented that petitioner agrees with the proffered award. Id.
Based on the record as a whole, the undersigned finds that petitioner is entitled to an
award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $141,624.40 in the form of a check payable to
petitioner, Karen Ryf. This total award represents $15,479.90 in lost earnings,
$125,000.00 in pain and suffering, and $1,144.50 in unreimbursable expenses.
This amount represents compensation for all damages that would be available under
§ 300aa-15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
               Case 1:15-vv-00313-UNJ Document 35
                                               30 Filed 05/27/16
                                                        04/19/16 Page 3
                                                                      1 of 5
                                                                           3



                   IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                             OFFICE OF SPECIAL MASTERS

                                                   )
KAREN RYF,                                         )
                                                   )
                   Petitioner,                     )
                                                   )    No. 15-0313V
v.                                                 )    Chief Special Master Dorsey
                                                   )    ECF
SECRETARY OF HEALTH AND HUMAN                      )
SERVICES,                                          )
                                                   )
                   Respondent.                     )
                                                   )

                 RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Items of Compensation

          A.       Lost Earnings

          The parties agree that based upon the evidence of record, Karen Ryf has suffered past

and future loss of earnings as a result of her vaccine-related injury. Therefore, respondent

proffers that the Court should award Karen Ryf a lump sum of $15,479.90 for her past and future

lost earnings as provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(3)(A). Petitioner

agrees.

          B.       Pain and Suffering

          Respondent proffers that Karen Ryf should be awarded $125,000.00 in actual and

projected pain and suffering. This amount reflects that the award for projected pain and

suffering has been reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner

agrees.
          Case 1:15-vv-00313-UNJ Document 35
                                          30 Filed 05/27/16
                                                   04/19/16 Page 4
                                                                 2 of 5
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       C.      Past Unreimbursable Expenses

       Evidence supplied by petitioner documents Karen Ryf’s expenditure of past

unreimbursable expenses related to her vaccine-related injury. Respondent proffers that

petitioner should be awarded past unreimbursable expenses in the amount of $1,144.50, as

provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(1)(B). Petitioner agrees.

II.    Form of the Award

       The parties recommend that the compensation provided to Karen Ryf should be made

through a lump sum payment as described below and request that the Special Master’s decision

and the Court’s judgment award the following 1: a lump sum payment of $141,624.40,

representing compensation for lost earnings ($15,479.90), pain and suffering ($125,000), and

past unreimbursable expenses ($1,144.50), in the form of a check payable to petitioner, Karen

Ryf.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Karen Ryf:                            $ 141,624.40

                                              Respectfully submitted,

                                              BENJAMIN C. MIZER
                                              Principal Deputy Assistant Attorney General

                                              RUPA BHATTACHARYYA
                                              Director
                                              Torts Branch, Civil Division

                                              VINCENT J. MATANOSKI
                                              Deputy Director
                                              Torts Branch, Civil Division




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  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
                                                 2
        Case 1:15-vv-00313-UNJ Document 35
                                        30 Filed 05/27/16
                                                 04/19/16 Page 5
                                                               3 of 5
                                                                    3



                                   MICHAEL P. MILMOE
                                   Senior Trial Counsel
                                   Torts Branch, Civil Division

                                   s/ Sarah C. Duncan
                                   Sarah C. Duncan
                                   Trial Attorney
                                   Torts Branch, Civil Division
                                   U.S. Department of Justice
                                   P.O. Box 146
                                   Benjamin Franklin Station
                                   Washington, D.C. 20044-0146
                                   Tel: (202) 514-9729
                                   Fax: (202) 616-4310
DATED: April 19, 2016




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